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1    JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
2    JEFFREY L. STANIELS, Bar #91413
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     YONI OVIDIO SOSA
6
7                         IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,      ) No. 2:12-cr-00370-MCE
                    Plaintiff,      )
11                                  )
          v.                        ) STIPULATION AND ORDER CONTINUING
12                                  ) STATUS CONFERENCE TO March 7, 2013
     YONI OVIDIO SOSA,              )
13   ANTONIO SILVA,                 ) Date: January 10, 2013
     JOSE LOPEZ                     ) Time: 9:00 a.m.
14                  Defendants.     ) Judge: Hon. Morrison C. England, Jr.
                                    )
15   ______________________________ )
16        IT IS HEREBY STIPULATED and agreed to among the UNITED STATES OF
17   AMERICA through Olusere Olowoyeye, Assistant United States Attorney,
18   YONI OVIDIO SOSA, by and through his counsel, Jeffrey L. Staniels,
19   Assistant Federal Defender, ANTONIO SILVA, by and through his counsel
20   Clemente Jimenez, and JOSE LOPEZ, by and through his attorney Dina
21   Santos, that the status conference in the above-captioned case be
22   continued from January 10, 2013 to March 7, 2013, at 9:00 a.m. for
23   status conference.
24        This continuance is sought to permit further defense preparation
25   including consideration of pretrial motions and possible non-trial
26   disposition, and accounts for the schedules of counsel, including
27   particularly involvement in a month long trial by Mr. Jimenez in
28   February.
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1          IT IS ALSO STIPULATED that the interests of justice furthered by
2    granting this continuance outweigh the interests of the public and the
3    defendant in a speedy trial and that time for trial under the Speedy
4    Trial Act be excluded between January 10, 2013, and March 7, 2013,
5    pursuant to 18 U.S.C. § 3161(h)(7)(A) & (B)(iv), Local Code T-4 (time
6    to prepare).
7          IT IS SO STIPULATED.
8
9    Dated: January 8, 2013             /s/ J. Staniels for
                                       OLUSERE OLOWOYEYE
10                                     Assistant United States Attorney
                                       Counsel for Plaintiff
11
12
     Dated: January 8, 2013             /s/ Jeffrey L. Staniels
13                                     JEFFREY L. STANIELS
                                       Assistant Federal Defender
14                                     Counsel for Defendant
                                       YONI OVIDIO SOSA
15
     Dated: January 8, 2013             /s/ Clemente Jimenez
16                                     CLEMENTE JIMENEZ
                                       Counsel for Defendant
17                                     ANTONIO SILVA
18   Dated: January 8, 2013             /s/ Dina Santos
                                       DINA SANTOS
19                                     Counsel for Defendant
                                       JOSE LOPEZ
20
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26   ///
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28   ///

     Stipulation & Order
     Continuing Case                         2
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1                                       O R D E R
2          The stipulation of the parties is hereby accepted and the
3    requested continuance is GRANTED.       This matter shall be dropped from
4    this court’s January 10, 2013 calendar, and re-calendared for status
5    conference on March 7, 2013 at 9:00 a.m.
6          Based on the representations of the parties the court finds that
7    the ends of justice served by granting this continuance outweigh the
8    interests of the public and the defendant in a speedy trial.           Time is
9    therefore excluded from the time of filing this stipulation through and
10   including March 7, 2013.
11         IT IS SO ORDERED.
12
      Dated: January 15, 2013
13
14                                     _____________________________________
                                       MORRISON C. ENGLAND, JR., CHIEF JUDGE
15
                                       UNITED STATES DISTRICT JUDGE
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     Stipulation & Order
     Continuing Case                         3
